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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

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SECURITIES AND EXCHANGE
COMMISSION,

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CASE NO. 3:09-CV-0298-N

Plaintiff,
v.

STANFORD INTERNATIONAL BANK,
LTD., STANFORD GROUP COMPANY,
STANFORD CAPITAL MANAGEMENT,
LLC, R. ALLEN STANFORD, JAMES M.
DAVIS, and LAURA PENDERGEST-
HOLT,

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Defendants. Referred to U.S. Magistrate Judge
MEMORANDUM OPINION AND ORDER FOLLOWING IN CAMERA REVIEW

Before the court is a Motion for In Camera Inspection, filed by Receiver Ralph S.
Janvey1 and the Offlcial Stanford Investors Committee2 (collectively, the Movants), requesting
that the court determine Which of the documents produced, in camera by Whitney Bank, are
prohibited from disclosure, under the Bank Secrecy Act (BSA), because they Would reveal the
existence of a Suspicious Activity Report (SAR).3 (See Doc. 1701 .)

I. Relevant Background

In 2004, after serving as the primary bank for Stanford Trust Company in Louisiana

(STC), Whitney National Bank (WNB) ended its relationship With STC because WNB “did not

 

1 The court appointed Janvey as Receiver of the Receivership Estate. See Second

Am. Order Appointing Receiver, July 19, 2010, (Doc. 1130). Janvey Was vested With the
authority “to immediately take and have complete and exclusive control, possession, and custody
of the Receivership Estate and to any assets traceable to assets owned by the Receivership
Estate.” Id. at 3-4.
The Offlcial Stanford Investors Committee is composed of Stanford investors or
attorneys representing Stanford investors. See the Court’s Order of Aug. 10, 2010, (Doc. 1149).
Neither Whitney Bank nor the Movants are parties in the instant lawsuit.

 

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believe [it] had the resources or expertise to conduct the type of due diligence review required”
under the USA PATRIOT Act, given the “size . . . and complexity” of the network comprising
Stanford Financial Group (SFG) and its affiliates, including STC. (See Doc. 1701-1, ‘|] 1.)

While serving as STC’s primary bank, WNB “received STC’s clients’ funds in an STC
‘fiduciary’ account . . . for further transfer to and investment in” Stanford International Bank,
LTD., (SIBL) CDs. Id. After WNB terminated its relationship With STC, Hancock Bank of
Louisiana replaced WNB as STC’s primary bank, acting in the same capacity as had WNB, Ia'.
In February 2009, when SFG and its affiliates collapsed, STC had approximately $400 million in
SIBL CDS, which were held in clients’ IRAs. (Doc. 1701-2, 11 7.)

On February 25, 2011, Janvey issued a subpoena to WNB for production of various
documents concerning communications and activities of Defendants. (See Doc. 1701-3.) At the
time of this initial subpoena, Whitney Holding Company owned WNB, (Doc. 1760 at 1.)

On June 4, 2011, Hancock Holding Company, which owned Hancock Bank of Louisiana
and Whitney Bank in Louisiana, acquired Whitney Holding Company. Ia'. at 2. With this
acquisition, Whitney Bank in Louisiana merged With WNB, resulting in Whitney Bank
(Whitney), owned by Hancock Holding Company. Id. at 2.

On July 11, 2011, following the merger, Janvey issued a second subpoena to WNB,
which requested production of documents specifically related to its record-keeping obligations
under the BSA:4

12. Produce all documentation referencing internal BSA policies, procedures,
handbooks and manuals used when dealing with high risk accounts.

 

4 Simultaneously, Janvey also issued a subpoena to Hancock Bank of Louisiana,

(Doc. 1701-7), which is practically identical to the subpoena issued to WNB, Whitney objected
to the subpoena issued to Hancock Bank of Louisiana, (Doc. 1701 -8), just as they objected to the
subpoena issued to WNB,

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14. Produce all Third Party BSA audits conducted since January 1, 2003, as well
as any and all internal audit schedules, the frequency of same, and findings and all
management responses.

15. Produce all Minutes of the Board of Directors reflecting or discussing the
Annual BSA Risk Assessment and BSA Annual Report.

(Doc. 1701-5 at 5.)

WNB, and its successor by merger, Whitney, objected to both subpoenas, (see Docs.
1701-4, -6), on grounds that information contained in the requested documents is protected from
discovery under doctrines of privilege or immunity, including, as authorized under 31 U.S.C.
5318(g)(2), the prohibition against disclosure of any “information that would reveal the existence
ofa SAR.” See 12 C.F.R. § 21.11(k) (2011).

On September 13, 2012, the Movants filed a motion for in camera review to determine
which (of the several thousand) subpoenaed documents are privileged under the BSA. The
Movants concede that the SARs themselves are privileged but assert that this privilege does not
apply to documentation supporting SARs. (See Doc. 1701, 11 11.)

On December 31, 2012, Whitney provided the court with documents responsive to
Janvey’s subpoenas, for in camera review.5 (See Doc. 1760.)

II. Discussion
A. The Bank Secrecy Act and SAR Privilege

The BSA, enacted by Congress in 1970, requires national banks to assist the federal
government in detecting and preventing financial crimes. Amended in 1992 by the Annunzio-
Wylie Anti-Money Laundering Act, the BSA requires financial institutions “to report any

suspicious transaction relevant to a possible violation of law or regulation.” 31 U.S.C.

 

5 At the court’s request, on February 24, 2014, Whitney provided, also in camera, a

descriptive index of the provided documents, to assist the court in its evaluation.

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§5318(g)(1) (2006). Authorized through the Department of the Treasury, the Office of the
Comptroller of the Currency (OCC) issues rules and regulations to meet the mandate of the BSA.
See ia'.; 12 U.S.C. §§ 1, 93a.

Federal regulations, promulgated by the OCC, require that national banks file a SAR
“when they detect a known or suspected violation of Federal Law or a suspicious transaction
related to a money laundering activity or a violation of the [BSA].” 12 C.F.R. § 21.11(a). A SAR
filing is required for any potential crimes: (1) involving insider abuse, regardless of the dollar
amount; (2) where there is an identifiable suspect and the transactions involve $5,000 or more;
(3) where there are no identifiable suspects and the transactions involve $25,000 or more; or (4)
where there is any suspicious activity that indicates potential money laundering or BSA
violations, and the transactions involve $5,000 or more. 12 C.F.R. § 21.11(c). National banks are
also required to maintain procedures, in accordance with a written, board-approved program, that
are reasonably designed to assure and monitor compliance with the BSA. 12 C.F.R. § 21 .21.

Importantly, SARS must remain confidential: “A SAR, and any information that would
reveal the existence of a SAR, are confidential, and shall not be disclosed except as authorized in
this paragraph (k).” 12 C.F.R. § 21.11(k) (effective January 3, 2011) (italics added). Under the
general rule of § 21.11(k), any “national bank, and any director, officer, employee, or agent of
any national bank that is subpoenaed or otherwise requested to disclose a SAR, or any
information that would reveal the existence of a SAR, shall decline to produce the SAR or such
information . . . .” 12 C.F.R. § 21.11(k)(1)(i). The exception authorizing disclosure of
information is narrowly tailored so that banks may comply with the purpose of the BSA_thus,

banks are not prohibited, for example, from sharing information with the OCC, law enforcement

 

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agencies, or other financial institutions in preparation of a joint SAR. See 12 C.F.R.
§ 21.11(k)(1)(ii).

At issue here is the meaning of “any information that would reveal the existence of a
SAR.” This language differed in the version of § 21.1 1(k) effective prior to January 3, 2011:

(k) Confidentiality of SARS. SARs are confidential Any national bank or person
subpoenaed or otherwise requested to disclose a SAR or the information
contained in a SAR shall decline to produce the SAR or to provide any
information that would disclose that a SAR has been prepared or filed, citing this
section, applicable law (e.g., 31 U.S.C. 5318(g)), or both, and shall notify the
OCC.

12 C.F.R. § 21.11(k) (effective until January 3, 2011) (italics added).
The OCC explained the purpose of changing the language of § 21.11(k), when it issued
its final rule: “The OCC is issuing this final rule to amend its regulations implementing the

[BSA] governing the confidentiality of a [SAR] to: clarify the scope of the statutory prohibition

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on the disclosure by a financial institution of a SAR, as it applies to national banks . .
Confidentiality of Suspicious Activity Reports, 75 Fed. Reg. 75576-01, 75576 (Dec. 3, 2010).
The OCC also explained the underlying rationale of the confidentiality requirement:

The confidentiality of SARs must be maintained for a number of compelling
reasons. For example, the disclosure of a SAR could result in notification to
persons involved in the transaction that is being reported and compromise any
investigations being conducted in connection with the SAR. In addition, the OCC
believes that even the occasional disclosure of a SAR could chill the willingness
of a national bank to file SARs and to provide the degree of detail and
completeness in describing suspicious activity in SARs that will be of use to law
enforcement If banks believe that a SAR can be used for purposes unrelated to
the law enforcement and regulatory purposes of the BSA, the disclosure of such
information could adversely affect the timely, appropriate, and candid reporting of
suspicious transactions Banks also may be reluctant to report suspicious
transactions, or may delay making such reports, for fear that the disclosure of a
SAR will interfere with the bank’s relationship with its customer. Further, a SAR
may provide insight into how a bank uncovers potential criminal conduct that can
be used by others to circumvent detection. The disclosure of a SAR also could
compromise personally identifiable information or commercially sensitive
information or damage the reputation of individuals or companies that may be

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named. Finally, the disclosure of a SAR for uses unrelated to the law enforcement
and regulatory purposes for which SARs are intended increases the risk that bank
employees or others who are involved in the preparation or filing of a SAR could
become targets for retaliation by persons whose criminal conduct has been
reported.

These reasons for maintaining the confidentiality of SARs also apply to any
information that would reveal the existence of a SAR.

[T]he strong public policy that underlies the SAR system as a whole-namely, the
creation of an environment that encourages a national bank to report suspicious
activity without fear of reprisal-leans heavily in favor of applying SAR
confidentiality not only to a SAR itself, but also in appropriate circumstances to
material prepared by the national bank as part of its process to detect and report
suspicious activity, regardless of whether a SAR ultimately was filed or not. This
interpretation also reflects relevant case law.
ld. at 75578-79.

Additionally, the OCC explained that in civil lawsuits, banks cannot waive the
confidentiality privilege applicable to SARs: “in the context of discovery in connection with civil
lawsuits, financial institutions are prohibited from disclosing SAR information because section
5318(g) and its implementing regulations have created an unqualified discovery and evidentiary
privilege for such information that cannot be waived by financial institutions.” Id. at 75579-80
(citing Whitney Nat’l Bank v. Karam, 306 F. Supp. 2d 678, 682 (S.D. Tex. 2004); Cotton v.
Private Bank and Trust Co., 235 F. Supp. 2d 809, 815 (N.D. Ill. 2002)).

The OCC provided further guidance to delineate between non-privileged documents and
those that would be privileged because they contain “information that would reveal the existence
of a SAR”:

Documents that may identify suspicious activity, but that do not reveal whether a

SAR exists (e.g., a document memorializing a customer transaction such as an

account statement indicating a cash deposit or a record of a funds transfer), should

be considered as falling within the underlying facts, transactions, and documents

upon which a SAR is based, and need not be afforded confidentiality

Confidentiality of Suspicious Activity Reports, 75 Fed. Reg. at 75579 & n.22 (citing Whitney

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Nat’l Bank, 306 F. Supp. 2d at 682 (noting that courts have “allowed the production of
supporting documentation that was generated or received in the ordinary course of the bank’s
business, on which the report of suspicious activity was based”); Cotton, 235 F. Supp. 2d at 815
(holding that the “factual documents which give rise to suspicious conduct . . . are to be produced
in the ordinary course of discovery because they are business records made in the ordinary
course of business”)). Following the reasoning in Whitney Nat’l Bank and Cotton, the OCC also
commented that “factual documents created in the ordinary course of business (for example,
business records and account information, upon which a SAR is based) may be discoverable in
civil litigation under the Federal Rules of Civil Procedure.” Confidentiality of Suspicious
Activity Reports, 75 Fed. Reg. at 75580.

To distinguish documents that are privileged, the court in Whitney Nat’l Bank (whose
reasoning the OCC largely adopted) held that any explanatory documents pertaining to a filed
SAR, as well as evaluative or preparative documents anticipating a possible SAR_whether filed
or not~»are likely privileged:

The Whitney Bank Parties are protected from the production of communications

they made to governmental agencies or officials reporting possible or suspected

violations of laws or regulations by the defendants, or pertaining to such reports.

Such communications may consist of a SAR itself; communications pertaining to

a SAR or its contents; communications preceding the filing of a SAR and

preparatory or preliminary to it; communications that follow the filing of a SAR

and are explanations or follow-up discussions; or oral communications or

suspected or possible violations that did not culminate in the filing of a SAR. The

Whitney Bank Parties must produce documents produced in the ordinary course

of business pertaining to the defendants’ banking activities, transactions, and

accounts, but may not produce documents or information that could reveal

whether a SAR or other report of suspected or possible violations has been
prepared or filed or what it might contain, or the discussions leading up to or
following the preparation or filing of a SAR or other form of report of suspected

or possible violations.

306 F. Supp. 2d at 682-83 (italics added).

 

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Based on relevant case law and policy concerns-and to comply with the purpose of the
BSA_the OCC made clear in its revision of § 21.ll(k) that the SAR privilege likely covers
documents related to the preparation and filing of a SAR that are not “factual documents created
in the ordinary course of business.” See Confidentiality of Suspicious Activity Reports, 75 Fed.
Reg. at 75578-81.

B. In Camera Documents Provided by Whitney

Since the OCC has revised § 21.11(k), courts within the Fifth Circuit have not yet
addressed when SAR-related documents contain “information that would reveal the existence of
a SAR,” and are therefore privileged under the BSA. To determine which of Whitney’s
subpoenaed documents are privileged, in accord with the OCC’s guidance and the cases upon
which the OCC relied, this court considered the following factors: (1) whether the document was
created in the ordinary course of business; (2) whether the information or communication in the
document was purely factual or was evaluative, speculative, or opinionated; (3) whether the_
language in the document referred to a specific customer or transaction or was general in nature;
(4) whether the language in the document was indicative of suspicious or illegal activity or future
risk of such activity; (5) the source or author of the document; and, if possible, (6) the reason the
document Was prepared or created.

This court considered any purely factual documents created in the ordinary course of
business as presumptively outside the scope of the SAR privilege See also Lesti v. Wells Fargo
Bank NA, 2:1 1-cv-695-FTM-29, 2014 WL 1246494, at *2 (M.D. Fla. Mar. 26, 2014) (examining
whether documents were factual and produced in the ordinary course of business). Moreover,

factual documents that memorialize customer transactions carried out in the ordinary course of

 

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business, such as account statements and records of deposits, withdrawals, or fund transfers are
not privileged under the BSA.

As well, courts should carefully examine documents containing general SAR-related
information_such as documents describing a bank’s policies and procedures for preparing and
filing SARs_on a case-by-case basis, to determine whether disclosure of such documents might
reveal the existence of a SAR. For example, a bank’s BSA handbook or manual, which details its
procedures for reporting SARs, might reveal that a SAR existed or was under consideration,
when used in conjunction with the bank’s factual records_under this scenario, discovery of such
a manual should be prohibited.

District courts in other circuits have reached divergent conclusions regarding whether
general SAR-related documents are discoverable In Freedman & Gersten, LLP v. Bank of Am.,
N.A., a court in the District of New Jersey decided that the defendant bank need not produce its
policies and procedures for filing a SAR because such production would allow the Plaintiff to
infer whether a SAR was filed:

[A]cknowledging the confidential nature of SARs and noting that if BOA

produces its policies and procedures for filing a SAR, Plaintiff, or anyone else for

that matter, can easily infer whether a SAR was filed, Defendants need not

produce such policies and procedures. Indeed, knowledge of what BOA's policies

are for SARs could implicate BOA and its right to keep its decision to file a SAR

out of the public eye by exposing its decision-making process. See 31 U.S.C.

5311 (Declaration of Purpose of the Bank Secrecy Act/Anti-Money Laundering

Act); [Union Bank of Cal., N.A. v. Superior Court, 130 Cal. App. 4th 378, 392, 29

Cal. Rptr. 3d 894, 903 (2005)]. This simply is not within the spirit of 31 U.S.C.

53[18](g) or 12 C.F.R. 21.1 l(k).

No. 2:09-cv-05351-SRC-MAS, 2010 WL 5139874, at *4 (D.N.J. Dec. 8, 2010).
But in Wultz v. Bank of China Ltd., a court in the Southern District of New York

concluded that “general information related to [the defendant bank’s] SAR filing practices” was

not covered by the SAR privilege No. l:ll-cv-01266-SAS-GWG, 2013 WL 1453258, at *12

 

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(S.D.N.Y. Apr. 9, 2013) reconsideration denied, 291 F.R.D. 42 (S.D.N.Y. 2013). The Wultz
court noted, “The OCC emphasizes the importance of protecting the confidentiality of SARs and
the act of filing a SAR, but does not address or take a position on Whether producing the general
information requested by plaintiffs would violate any law or privilege.” Id.
Indeed, the OCC commented that general SAR-related information should be
distinguished from “information that would reveal the existence of a SAR”:
With respect to “information that would reveal the existence of a SAR,” therefore,
institutions should distinguish between certain types of statistical or abstract
information or general discussions of suspicious activity that may indicate that an
institution has filed SARs, and information that would reveal the existence of a
SAR in a manner that could enable the person involved in the transaction
potentially to be notified, whether directly or indirectly.
Confidentiality of Suspicious Activity Reports, 75 Fed. Reg. at 75579. In a footnote, the OCC
further elaborated:
One example of such [general SAR-related] information could include summary
information commonly provided by banks in the “notification to the board”
required by the various Federal bank regulatory agency SAR rules. National
banks subject to the requirement are encouraged to be cautious in the production
of relevant portions of board minutes or other records to avoid the risk of
potentially exposing SAR information to the subject, either directly or indirectly,
in the event such records are subpoenaed.
Id. at n.25
Many of the documents provided in camera by Whitney contain general SAR-related
information that is not related to the preparation or filing of a specific SAR, such as BSA
policies, filing procedures, or board meeting minutes. Consistent with the reasoning of both the

New York and New Jersey district courts, as well as the OCC’s comments to its revision of

§ 21.1 1(k), this court evaluated general SAR-related documents provided by Whitney on a case-

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by-case basis to determine whether such documents are covered by the SAR privilege because
they contain “information that would reveal the existence of a SAR.”6
III. Conclusion
For the reasons set forth above, this court ORDERS that the documents specified as
privileged under the BSA, in the Appendix to this order, are prohibited from discovery.

SO ORDERED this 25th day of July, 2014.

MW

E/SCOTT FRosT
UNITED STATES MAGISTRATE JUDGE

 

6 Notwithstanding any determination by this court of whether such documents are

privileged under § 21.11(k), this opinion does not address whether such documents would be
discoverable under Federal Rule of Civil Procedure 26(b). Under Rule 26(b)(l), “[p]arties may
obtain discovery regarding any nonprivileged matter that is relevant to any party's claim or
defense_including the existence, description, nature, custody, condition, and location of any
documents or other tangible things and the identity and location of persons who know of any
discoverable matter.” Whitney has briefed the court only with respect to whether the in camera
documents are privileged under the BSA, not whether any documents should be precluded from
discovery under Rule 26.

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APPENDIX OF DOCUMENTS PRIVILEGED UN ER THE BSA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

BATES PR|V|LEGED
RANGE UNDER BSA

000001-000003 YES

000004-000006 NO
000007-000224 YES

000225~000233 YES

000234-000236 NO
000237-000260 NO
000261-000284 NC
000285-000378 NO
000379-000475 NO
00047 6-000477 YES

000478- NO
000479-000480 NO
000481-000497 NO
000498-000514 NO
000515-000518 NO
000519-00052 1 NO
000522-000526 NO
000527-000532 NO
000533-000538 NO
000539~000545 NO
000546-000548 NO
000549-000552 NO
000553-000650 NO
000651-000744 NO
000745-000754 NO
000755-000760 NO
000761-000772 NO
000773~000778 NO
000779- YES

000780-000808 NO
000809-001832 YES

001833-003187 YES

003188-004612 YES

004613-004615 YES

004616-004624 NO

 

 

 

 

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004627-004628 YES
004629- ' NO
004630-004633 NO
004634- NO
004635-004636 NO
004637-004711 NO
004712- NO
004713-004715 NO
004716-004732 YES
004733- NO
004734-004808 NO
004809-004810 YES
004811-004845 NO
004846-004848 YES
004849-004850 YES
004851- YES
004852- YES
004853- YES
004854-004855 VES
004856- YES
004857-004862 NO
004863- NO
004864-004867 NO
004868-004877 YES
004878-004912 NO
004913-004914 YES
004915- NO
004916-004919 NO
004920-004923 NO
004924-004931 NO
004932-004939 NO
004940-004974 NO
004975- NO
004976-004987 NO
004988-004989 YES
004990-004997 ' NO
004998- NO
004999-005015 NO
005016-005017 NO
005018-005019 NO

 

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005020-005042 NO
005043-005058 / NC
005059-005065 NO
005066-005086 NO
005087-005088 NO
005089-005090 NO
005091-005113 NO
005114-005129 NO
005130-005136 NO
005137-005157 NO
005158- NO
005159-005174 NO
005175-005197 NO
005198-005199 YES

005200-005201 NO
005202- NO
005203- NO
005204-005206 NO
005207-005215 YES

005216- NO
005217-005218 YES

005219- NO
005220- NO
005221~005225 NO
005226-005233 NO
005234- NO
005235-005237 NO
005238-005245 YES

005246- NO
005247- NO
005248- NO
005249-005253 NO
005254-005261 NO
005262- NO
005263-005268 NO
005269- NO
005270- NO
005271-005275 NO
005276-005283 NO
005284-005285 NO

 

 

 

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005286-005295 NO
005296-005298 NO
005299-005308 NO
005309- NO
005310-005322 NO
005323- NO
005324-005326 NO
005327- NO
005328-005335 NO
005336-005337 NO
005338- NO
005339-005341 YES

005342-005344 NO
005345-005347 NO
005348-005356 YES

005357- NO
005358- NO
005359-005373 NO
005374-005390 NG
005391- NO
005392-005395 NO
005396- NO
005397-005400 NO
005401- NO
005042-005479 NO
005480-005481 NO
005482-005483 NO
005484-005485 NO
005486- NO
005487-005648 YES

005649-005742 NO
005743-005836 NO
005837-005911 NO
005912-005914 NO
005915-006012 NO
006013-006015 NO
006106- NO
006017-006028 NO
006029-006062 YES

006063-006137 NO

 

 

 

 

 

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006138- NO
006139-006145 NO
006146- NO
006147-006185 NO
006186- NO
006187-006189 VES
006190-006191 YES
006192-006193 YES
006194- NO
006195- NO
006196-006199 NO
006200- NO
006201-006294 NO
006295-006297 YES
006298~ NO
006299-006389 NO
006390- NO
006391-006395 YES
006396-006412 YES
006413- YES
006414-006418 YES
006419-006435 YES
006436-006445 YES
006446-006449 YES
006450-006478 NO

 

 

 

 

 

